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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

                                                             §
SECURITIES AND EXCHANGE COMMISSION,                          §
                                                             §
               Plaintiff,                                    §       CIVIL ACTION NO.
                                                             §
v.                                                           §             4:10-cv-00711-Y
                                                             §
MICHAEL JOBE and RICHARD VLASICH                             §
                                                             §
               Defendants.                                   §
                                                             §


                       DECLARATION OF CHARLENE C. KOONCE


        I, CHARLENE KOONCE, declare under penalty of perjury under the laws of the United

States of America that the following are true and correct:

        1.     I am over the age of 18 years, have never been convicted of a crime, and am

competent to make this affidavit. I have personal knowledge of the facts stated herein.

        2.     I am an attorney licensed to practice law in the state of Texas and am a partner

with the law firm of Scheef & Stone, LLP. I was also appointed Special Master in the matter

referenced above.

        3.     In connection with my duties as Distribution Agent, the following matters have

been accomplished since the Court granted the Unopposed Motion regarding all final matters

Docket No. 43] (the “Order”). This Declaration is filed in accordance with the Order.

        4.     On February 11, 2013 the check issued to Credit Suisse was forwarded to Credit

Suisse’s attorney by federal express, with a request that Credit Suisse deposit the check within 30




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days. Credit Suisse deposited the check and it cleared the Special Master’s bank account on

March 12, 2013.

       5.     Payments to the Distribution Agent’s law firm and accountants were made in the

amounts authorized by the Order. Following payment of the authorized expenses and issuance

of the cashier’s check payable to Credit Suisse check, $75,224.70 remained in the account

holding the QSF.

       6.     On March 14, 2013, pursuant to wire instructions provided by the Tax

Administrator, the balance of the QSF was wired to the Tax Administrator, and notice of the

transfer was also provided to the SEC’s counsel of record, Mr. Helmer.

       7.     Following transfer of the balance of the QSF, the bank account in which the funds

were previously deposited, was closed.

       8.     EXECUTED this 14th day of March, 2013 at Dallas, Texas.


                                                   /s/ Charlene C. Koonce_____________
                                                   CHARLENE C. KOONCE




DECLARATION                                                                              Page 2
